                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MISSOURI
                                  CENTRAL DIVISION


 MARY HOLMES, DENISE DAVIS,
                                                          Case No. 2:22-cv-04026-MDH
 ANDREW DALLAS, and EMPOWER
 MISSOURI,

                               Plaintiffs,
                                                                    PLAINTIFFS’
                -against-                                         NOTICE OF FILING

 JESSICA BAX, in her official capacity as
 Acting Director of the Missouri Department of
 Social Services,

                               Defendant.


       Pursuant to the Court’s Order, ECF 211, Plaintiffs hereby submit a proposed order on

relief, which would fully address the issues described in the Court’s previous Order on the

parties’ motions for summary judgment, ECF 161.

                                             Respectfully submitted,

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